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                   IN THE UNITED STATES DISTRICT COURT
            WESTERN DISCTRICT OF WASHINGTON– SEATTLE DIVISION

LOZANO ET AL,


         Plaintiffs/Respondents

v.
                                            Civil Misc. Action No. 2:22-mc-00078
DOES I-X, ET AL,
                                            Judge Robert S. Lasnik
         Defendants,

v.

BIRCH,

           Petitioner.



                                  ATTACHMENT A
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From:             Kirsten Fraser
To:               "ramosimmigration@gmail.com"
Subject:          Lozano et al v. Doe, et al. Subpoena
Date:             Wednesday, September 21, 2022 9:45:32 AM


Stefania,

Thank you for your call last week regarding the third party subpoena that was served on you. I’m
writing to memorialize our conversation. You agreed to look for responsive documents, and that we
would postpone the deposition for several weeks given the upcoming birth of your child. I would
like to set some timelines regarding the documents. Would it be reasonable for you to look for the
documents and get back to me by October 14th? As for the deposition, one thought I had was to do
a brief deposition over Zoom this week or next, so that it is not looming over your head. Otherwise,
could we look for a date in mid to late November or early December?

Best regards,

Kirsten Fraser
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